Case 3:24-cv-00102-WWB-PDB Document 16 Filed 04/22/24 Page 1 of 1 PageID 85




                        United States District Court
                         Middle District of Florida
                           Jacksonville Division


FELICIA DAVIS-BARRY,

     Plaintiff,

v.                                              NO. 3:24-CV-102-WWB-PDB

T.K. WATERS,

     Defendant.


                             Clerk’s Minutes

 Proceeding                Preliminary Pretrial Conference
 Date                      April 22, 2024
 Time                      2:06―34 p.m.
 Judge                     Patricia Barksdale, U.S. Magistrate Judge
 Courtroom Deputy          Angela Loeschen
 Counsel for Plaintiff     Andrew Bonderud
 Counsel for Defendants    Tiffiny Pinkstaff and Mary Margaret Giannini
 Digital/Reporter          Digital

Counsel were present to discuss discovery issues and case management,
including the length of the trial.

Judge Barksdale reminded counsel they can (1) request a settlement
conference before a magistrate judge and (2) consent to magistrate judge
jurisdiction as they get closer to trial to receive a date certain for trial.
